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From:                              Stronski, James <JStronski@crowell.com>
Sent:                              Friday, December 10, 2021 5:02 PM
To:                                Andy Ferguson; M Robles; Alex Kursman; Jennifer Moreno; Michael Lieberman; Emma
                                   Rolls; Lynne Leonard; Mithun Mansinghani; Bryan Cleveland; Harry Cohen; Dale Baich;
                                   Angie Beery; Sarah Jernigan; Kim Stout; McElligott, Andrew; Walker, Kenton
Subject:                           RE: Glossip -- Stouffer Production and Privilege Log for Grant and Stouffer Productions.


Mithun,

For the Stouffer production, we request the same production of documents and things preserved by court order as
requested in connection with the Grant execution. Please let us know when you can make this production in view of the
December 17 date to supplement the preliminary injunction motion.

Please also let us know if you will produce (and when) a privilege log for any withheld documents, and redactions, made
on privilege grounds for the production made below in connection with the Grant execution and to be made in
connection with the Stouffer execution. Thanks.

Regards,

Jim
~~~~~~~~~~~~~~~~~~~~~~~~~~~~
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Partner
590 Madison Avenue
New York, NY 10022-2524
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                                           12/10/2021 E-mail from J. Stronski to M. Mansinghani
